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                                         May 14, 2019


The Honorable Colm F. Connolly                                VIA ELECTRONIC FILING
United States District Court
  for the District of Delaware
844 King Street
Wilmington, DE 19801-3555

         Re:       f’real Foods, LLC et al. v. Hamilton Beach Brands, Inc. et al.,
                   C.A. No. 16-41-CFC

Dear Judge Connolly:

       Pursuant to the Court’s direction following the jury’s verdict on May 3,
2019, the parties have conferred on how to proceed with entry of judgment and
post-trial issues.

      The parties have agreed that: (1) no party will file any post-trial motion or
appeal related to the ’377 patent; and (2) that entry of judgment is warranted in
favor of Plaintiffs on Defendants’ affirmative defenses and counterclaims of
inequitable conduct and antitrust violations (see D.I. 10, Counterclaim Counts IX
and X).

       The parties have been unable to reach agreement on the issues related to the
timing of any entry of judgment, invalidity briefing under 35 U.S.C. § 112, and
post-trial briefing, and present their respective positions below. The parties are
available at the Court’s convenience to discuss these issues.

Entry of Judgment

      Plaintiffs’ Position: Plaintiffs request that the Court enter judgment based
on the jury’s verdict, the Court’s grant of Plaintiffs’ motion for judgment as a
matter of law on Defendants’ inventorship claim during trial, and the issues
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decided by the Court on summary judgment. Plaintiffs’ proposed form of
Judgment is attached as Exhibit A.

        Defendants’ Position: It is Defendants’ position that before any judgment
can or should be entered, the outstanding 35 U.S.C. § 112 issues concerning
invalidity of the asserted claims of the ’658 patent and claim 22 of the ’150 patent
should be decided, separate from post-trial motions. Because Plaintiffs seek entry
of a judgment before § 112 is determined for those claims, Defendants propose a
two-phased schedule, the second phase to proceed after the § 112 issues are
decided and judgment is entered (including the Court’s grant of Defendants’
motion for judgment as a matter of law on Plaintiffs’ inducement claims during
trial).

Briefing on Indefiniteness Issues

       Defendants intend to move for a judgment of invalidity of Claims 1, 5, 6, 10,
and 11 of the ’658 patent and Claim 22 of the ’150 patent based on indefiniteness
of the “sufficient mass” limitations under 35 U.S.C. § 112. The parties have
agreed to a briefing schedule of May 22, 2019, for Defendants’ opening brief; May
30, 2019, for Plaintiffs’ opposition brief; and June 5, 2019, for Defendants’ reply
brief. The parties further agree that the briefs shall be limited to the current record
in the case.

       Plaintiffs’ Position: Because indefiniteness of the ’377 patent is no longer
at issue, Plaintiffs propose that the briefing be limited to 1,250 words for opening
and opposition briefs, and 625 words for Defendants’ reply brief.

       Defendants’ Position: Defendants chose not to present testimony and
evidence at trial about the unresolved facts related to the outstanding § 112 issues
based on the parties’ trial agreement. That agreement provided that all remaining §
112 issues would be taken up after trial following 10-10-5 page briefing, without
regard to how many § 112 issues were actually pressed in that briefing. 4/29/19
Tr. at 11:2 – 12:9. The parties’ briefing agreement should be honored with the 10-
10-5 page briefing limits.
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Post-Trial Motions:

       Plaintiffs’ Position: Plaintiffs propose that within 28 days of entry of
judgment (but no later than June 20, 2019), the parties shall file all post-trial
motions, including motions under Fed. R. Civ. P. 50(b) or 59; motions to declare
the case exceptional under 35 U.S.C. § 285 and for attorneys’ fees1; motions for
pre- and post-judgment interest, supplemental damages, on-going royalties or
accounting; and motions for permanent injunction.
       Plaintiffs further propose that opening briefs on such motions be filed on
June 20, 2019 (limited to 10,000 words), opposition briefs be filed on July 18,
2019 (limited to 10,000 words), and reply briefs be filed on July 31, 2019 (limited
to 5,000 words). If Defendants’ move to stay an injunction, the opening brief shall
be due on July 18, 2019, (limited to 2,500 words), Plaintiffs’ opposition shall be
due on July 31, 2019, (limited to 2,500 words), and Defendants’ reply brief shall
be due on August 7, 2019, (limited to 1,250 words).
       Plaintiffs’ proposed order on the motion and briefing schedule is attached as
Exhibit B.

       Defendants’ Position: Defendants’ proposed second phase should occur
after the Court decides the outstanding invalidity issues under 35 U.S.C. § 112 and
enters judgment, as follows: 28 days after judgment – Post-trial opening briefs
(combined 12,500 words per side); 28 days after opening – Post-trial opposition
briefs (combined 12,500 words per side); and 14 days after opposition – Post-trial
reply briefs (combined 6,250 words per side).
       Regarding any motion for a stay of injunction pending appeal, the parties are
in agreement regarding the length of briefing. However, Defendants propose an
alternative briefing schedule where the deadline for moving to stay any injunction
is 28 days after Plaintiffs file their motion for an injunction.
       Defendants’ proposed order on the motion and briefing schedule is attached
as Exhibit C.




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       Plaintiffs propose that the Court first determine whether Plaintiffs are
entitled to attorneys’ fees based on a finding that this is an exceptional case under
35 U.S.C. § 285, with a determination of the attorneys’ fees owed, if any, to follow
separately.
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                                         Respectfully,


                                         Michael J. Flynn (#5333)


cc:   All counsel of record
